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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                              )
UNITED STATES OF AMERICA                      )         CRIMINAL NO. 3:13-CR-226(RNC)
                                              )
        v.                                    )
                                              )
DANIEL E. CARPENTER                           )
                                              )         OCTOBER 2, 2017

                       DECLARATION OF DANIEL E. CARPENTER

I, DANIEL E. CARPENTER, being duly sworn and over eighteen years of age, state that:

    1. Currently I, and my company Grist Mill Capital, LLC, have an action captioned as

Carpenter v. Koskinen, No. 13-cv-00563 (SRU), in front of the Honorable Stefan Underhill.

    2. In these proceedings before Judge Underhill, my attorneys took the depositions of Agent

ShaUll Schrader who drafted the constitutionally defective Search Warrant and other documents
                                                                                                 .
that were under seal for the April 20, 2010 raid of 100 Grist Mill Road, and Agent Kathy

Enstrom who was the Agent in Charge of the constitutionally unlawful search and seizure of that

day. I have just seen many of these newly discovered documents for the first time in connection

with the July 2017 Depositions of Agents Schrader and Enstrom.

    3. The Search Warrant drafted by Agent Schrader was constitutionally defective because it

did not list any crime on the face of the warrant and did not list with particularity what was to be

seized for the investigation of what crimes. The same is true with the Search Warrant drafted by

Agent Lynn Allen for the raid of May 26, 20ll, but discovery in that case under Judge Bolden

has been stayed indefinitely pending the criminal action in this case.

   4. In her deposition, Agent Enstrom after consulting her notes from that day (Attached as

Exhibit One) confirmed that she only gave the one page Search Warrant to my wife and me. She

did not give us a copy of the Search Warrant Application or the Search Warrant Affidavit though

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I asked for a copy of the Search Warrant Affidavit repeatedly in front of a conference room filled

with Benistar employees and federal agents as witnesses. Both the Schrader Search Warrant

Application and the Search Warrant Affidavit were under seal.

    5. In fact, after all of the people in the building had been herded into the conference room,

all of the Benistar employees there heard me ask repeatedly for the Search Warrant Affidavit,

and two of the government agents in the conference room came up behind me and looked over

my shoulder at the one page warrant missing the Affidavit and said: "He's right, that's the way

we do it in New York."

    6. Prior to the Raid of 2010, there were two Summons Enforcement actions in front of

Judge Chatigny and Magistrate Martinez. See United States v. Bursey, 3:09-mc-00272-RNC,

and United States v. Carpenter,3:08-mc-00lll-RNC.

    7. In his deposition, Agent Schrader actually admits that the main goal of the raid on 100

Grist Mill Road was to get the names of the Participating Employers and the Plan Participants

that I and Wayne Bursey had refused to tum over.          In reality, the only time my name is

mentioned in the Schrader Affidavit was stating that I (and Wayne Bursey) had not fully

complied with a decade long summons enforcement action.              The truth is that the only

information that I had not provided the government in answers to various subpoenas and

summonses was the names of the Participating Employers and the Plan Participants from the

Benistar 419 Plan, which stopped taking new Employers and Participants in December 2003.

   8. Following the raid of April 20, 2010 there were 50-60 Employers who were audited

costing these employers tens of millions of dollars in taxes and penalties - and the litigation and

lawsuits concerning these employers continues to this very week.




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    9. For example, just last week an employer in Texas, suing a different 419 plan and trust,

enclosed a copy of the Schrader Affidavit (despite it being under seal by Judge Covello's order)

and a ruling from this Court (June 6, 2016 Opinion) in trying to suggest that I fraudulently

controlled the Plan being sued in that case.

    10. Agent Schrader disclosed during his deposition that the cause of the April 20, 2010 raid

was information given by a Wisconsin insurance agent, Michael Tessier, about Guy Neumann

because Tessier was involved with a Social Security fraud investigation concerning Lawrence

Popp of Wisconsin.      If one searches Lawrence Popp's name or "Social Security fraud in

Wisconsin," you can still see the government tapes of Popp's fraud where he collected Social

Security, claiming to be blind but he was filmed driving a car, working, and even water skiing.

    II. Tessier arranged an insurance policy with the SADI Trust on Popp's life through Guy

Neumann so that Popp could also defraud the SADI Trust by claiming he had become blind as

well. I had no knowledge of this fraud or Popp's participation in the SADI Trust until Agent

Schrader's Deposition and looking up Popp's case on Google.

    12. My lack of involvement in the NOVA Benefit Plans is confirmed by the Schrader-

Enstrom "Synopsis of the Case" attached as Exhibit Two. In describing the case to their higher-

ups that had to sign off on the raid, my name is nowhere mentioned as being a part of the activity

at 100 Grist Mill Road - criminal activity or otherwise - and Agent Schrader and Enstrom both

stated that there are a number of companies at 100 Grist Mill Road - and Wayne Bursey runs

them. See "Synopsis of the Case" attached as Exhibit Two.

   13. Additionally, in his Search Warrant Plan of Operation page 8, Agent Schrader supposes

there are several "legitimate" businesses located at 100 Grist Mill Road, including Rex Insurance

Services, Inc. which was a Company founded and run by Guy Neumann. See Exhibit Three.



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    14. Significantly, Mr. Carpenter's name is not mentioned on the .face of the Search Warrant,

the Search Warrant Application, or in the "Synopsis of the Case."

    15. More proof that the raid on 100 Grist Mill Road was the "Guy Neumann Investigation"

and not the "Dan Carpenter" investigation can be found in the statements made by Stefan

Cherneski and Kevin Slattery to federal agents on the day of the raid. These documents were

just recently turned over to my attorneys in discovery in my lawsuit against Agents Schrader and

Enstrom in Judge Underhill's court.

    16. In the Chemeski April 20, 2010 statement, my role at 100 Grist Mill Road is not even

discussed until Paragraph 29. See Cherneski Statement attached as Exhibit Four.

    17. Similarly in Slattery's statement, my name is only mentioned in passing and Slattery was

actually screaming for help because he thought his life was in danger. Slattery confirmed his

fear and the illegal conduct of government agents that day in his recent deposition taken by the

government. Significantly, Slattery states in Paragraph 18 that I "left Benistar in 2004." See

Slattery statement attached as Exhibit Five. Obviously this statement by Slattery on April 20,

2010 constitutes newly-discovered, material and exculpatory Brady evidence, that certainly

contradicts many of the erroneous conclusions made by the Court in its June 6, 2016 Opinion.

    18. The "Synopsis of the Case" and the Slattery and Chemeski Statements confirm the truth

of this case that I stepped down from all things Benistar in January 2004 - before my pending

indictment in Boston in February 2004. The only people scheduled for interviews that day were

Cherneski, Slattery, and Belding. Significantly, Guy Neumann, the target of the investigation,

was lured to a coffee shop in Hartford, and Wayne Bursey was stopped from coming to the office

at the end of Grist Mill Road. According to Agent Schrader, I was not to be interviewed at all

that day. (Schrader Depo. at 118).



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    19. Thus there was no "probable cause" based on Agent Schrader's own Affidavit and

certainly not in the section of Agent Schrader's Affidavit quoted in the government's Opposition

Brief Doc. 285 at 18-22 where once again my name is not even mentioned or referenced

anywhere.

    20. As there was no "probable cause" to raid my building and my office much less seize my

three cell phones, there can be no doubt that the search and seizure of my person on April 20,

2010 was particularly unreasonable as well as non-particularized and overbroad, because in

addition to 100 boxes of ARIA and Grist Mill Capital files, the Agents seized 40 boxes marked

"Attorney Client Privileged" dealing with my case in Boston. The Agents also took my personal

tax returns and personal information having nothing to do with the "Guy Neumann

Investigation" or NOVA Benefit Plans.

    21. Since the Julio La Rosa Declaration (attached as Exhibit Six) says that as of May 2010,

there was no criminal investigation as to myself and Wayne Bursey, and my name was not

mentioned in either the "Synopsis of the Case" or the Search Warrant or the Search Warrant

Application, and I am only mentioned in passing in the Chemeski and Slattery statements given

to federal agents that day, the Court needs to reconsider both its conclusions in its June 6, 2016

Opinion (Doc. 212) that I controlled all of the Benistar entities as well as the December 2015

denial of my Motion to Suppress (Doc. 155) based on the fact that the April 20, 2010 Search

Warrant lacked probable cause, particularity, and was clearly overbroad as it relates to the

search of my office and the seizure of my person, my property, and my cell phones.

   22. The boxes taken from Halloran & Sage pursuant to AUSA Novick's May 25, 2011

Subpoena have not been returned even as of this week. See List of Boxes taken and list of boxes

still not returned seven years after the raid of April 20, 2010 and six years after the raid of May



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26,2011 attached as Exhibit Seven. These are separate Fourth Amendment violations in and of

themselves.

    23. Moreover, the Chemeski Statement (Exhibit Four) confirms that not only did I not

control all of the "Benistar Entities" as the Court erroneously concluded in its Opinion of June 6,

2016; it also shows my main activity was with a company called ARIA. The Julio La Rosa

Declaration (Exhibit Six) confirms that I was not suspected of any crime as of April 20, 2010,

therefore any search of my office lacked "probable cause" as a matter of law; and the Schrader-

Enstrom "Synopsis of the Case" (Exhibit Two) does not even mention my name and states that

Wayne Bursey controls the NOVA Benefit Plans.            Finally, the newly-discovered Slattery

Statement confirms my testimony that I left Benistar in January 2004, and did not have any day-

to-day active role in the Benistar entities or the Nova Benefit Plans.       See Exhibit Five at

paragraph 18. This lack of "probable cause" on top of the lack of particularity on the face of the

Search Warrant, combined with the overbreadth of the search itself, mandates a complete review

by this Court of the unconstitutional search and seizure of my office in my building on April 20,

2010.

   24. Furthermore, the Schrader Search Warrant Plan (Exhibit Three) suggests that Rex

Insurance Services, Inc. is one of the only "legitimate "businesses located at 100 Grist Mill

Road, but that business was owned and controlled by Guy Neumann, who was the subject of the

investigation leading to the raid of April 20, 2010. This is significant because Rex was the only

business at 100 Grist Mill Road involved in the sale of life insurance policies to banks and

investors. See the Court's Opinion (Doc. 212) citing my emails to Chad Gerdes, introducing

Guy Neumann to Chad Gerdes and discussing the potential sale of Rex policies. Don Trudeau

working with Ridgewood was after the September 30, 2010 foreclosure agreement when



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Ridgewood took over all of the Charter Oak policies. At this late date, I have not applied for or

sold any life insurance policies to any investors, nor did I ever have the ability to sell any of the

Charter Oak Trust policies to anyone but the insured, and only with the written pennission of

Christiana Bank as the Insurance Trustee, which was protecting Ridgewood's interests in the

policies, not mine. No evidence was adduced at my trial showing my name on any Charter Oak

Trust insurance policy application or showing my involvement in the application process for any

policy with any of the carriers.

    25. Therefore, since my name was not mentioned in the Schrader-Enstrom "Synopsis of the

Case" and my name is not mentioned in any of the Subpoenas involved in this case including the

Grand Jury Subpoenas of April 20, 2010 and May 26, 2011 and the AUSA Novick Subpoena to

Halloran & Sage of May 25, 2011, it should be clear that my office in my building should not

have been searched, and I should not have been "seized" during either of the two raids at 100

Grist Mill Road.

   26. In fact, Agent Schrader confinns as much in his Deposition where he states that I was

"not a target of the Search Warrant" (Schrader Deposition at 77); agents were "instructed not to

interview me" (Schrader Deposition at 118); and Agent Schrader made it clear that he "wasn't

looking to seize" me (Schrader Deposition at 124).

   27. Agent Schrader also makes it clear in his Deposition that the true goal of the raid was to

secure the names of the Plan Participants in the various 419 Plans despite the fact that both of the

Summons Enforcement Actions were in front of Judge Chatigny and Magistrate Martinez.

Getting those names was "why we wanted to do the Search Warrant." (Schrader Deposition at

127). Clearly that is not a legitimate use for an IRS Search Warrant as it is prohibited by the IRS

Manual, and it is extremely doubtful that Magistrate Smith would have approved a search



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warrant seeking to do an end run around two Summons Enforcement actions in front of Judge

Chatigny and Magistrate Martinez.

     28. Since my name was not mentioned on the face of either Search Warrant nor in any of the

three Subpoenas involved in the two raids, nor the Search Warrant Synopsis of the Case, and

since the true facts of the reason for the raid of April 20, 2010 were not disclosed to Magistrate

Smith, there was no "probable cause" to search my office at 100 Grist Mill Road or to seize my

three cell phones (none of which was a Blackberry) or to seize me personally as I was escorted at

gun point from my office to the conference room and then was escorted back to my office by two

armed federal agents to seize those cell phones - all without probable cause and a valid Search

Warrant. Therefore, any and all files, emails, or any other documents seized from my office in

my building are all "fruits of the poisonous tree" that should cause this Court to reconsider its

original order and now grant my Motion to Suppress as to all evidence seized from 100 Grist

Mill Road from both raids.

             I declare under penalty of perjury that the foregoing is true and correct. Executed on the

2nd day of October, 2017.




Sworn to before me this
2nd day of October, 2017




My commission expire8ASON J. CClNl:;A
(N°t;;try,                       leW COMMISSION EXPIRES MAR 31, 2022
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                                                                              1            Proceedings
               AMERICAN ARBITRATION ASSOCIATION
               ---------------------------------------                        2      THE ARBITRATOR: Good morning,
                                                                              3   everybody. This is the hearing in an
               In the Matter of the Arbitration
                                                                              4   American Arbitration Association case
                         between
                                                                              5   between Life Insurance Fund Elite Trust,
               LIFE INSURANCE FUND ELITE TRUST,                               6   claimant, and Avon Capital, LLC. We have
                               Claimant,                                      7   been working on this case for quite a long
                                                                              8   time. I have been on the phone with counsel
                           -and-
                                                                              9   for I think it is close to a year, so I am
               AVON CAPITAL, LLC,
                                                                             10   glad we are at this point where we are
                               Respondent.                                   11   starting the hearing, and I guess we're good
               AAA File No. 01-140000-0577                                   12   to go. Why don't we have appearances from
                                                                             13   everyone.
               ---------------------------------------
                                                                             14      MR. FELDMAN: Peter Feldman, Otterbourg
                               October 30, 2015
                               10:00 a.m.                                    15   P.C. on behalf of the claimant.
                                                                             16      MR. BOUGIAMAS: John Bougiamas,
                               Otterbourg P.C.
                               230 Park Avenue                               17   Otterbourg P.C. on behalf of the claimant as
                               New York, New York                            18   well.
               B e f o r e:                                                  19      MR. ROBINSON: Jack Robinson, Leyden &
                   CHARLES MOXLEY,
                    Arbitrator                                               20   Main Legal Group on behalf of the respondent
                                                                             21   Avon Capital.
                                                                             22      THE ARBITRATOR: Mr. Trudeau, do you
               Reported by:                                                  23
               Joseph R. Danyo
                                                                                  want to identify yourself?
                                                                             24      MR. TRUDEAU: Don Trudeau for Avon
               HUDSON REPORTING & VIDEO                  1-800-310-1769      25   Capital.


                                                                    Page 2                                          Page 4
           1                                                                  1            Proceedings
           2     APPEARANCES:
           3
                                                                              2       THE ARBITRATOR: Okay. I think we said
                    OTTERBOURG P.C.                                           3   in the last conference call that counsel
           4         Attorneys for Claimant                                   4   could make opening statements if they
                     230 Park Avenue
           5         New York, New York 10169-9100                            5   wanted, and we were contemplating something
           6        By: PETER FELDMAN, ESQ.                                   6   relatively brief, 15 or 20 minutes, if that
                       JOHN BOUGIAMAS, ESQ.
           7
                                                                              7   works for everybody. And we also said I
           8                                                                  8   think Mr. Robinson said he may reserve,
                    LEYDEN & MAIN LEGAL GROUP, P.C.                           9   which he is entitled to do.
           9         Attorneys for Respondent
                     243 Tresser Boulevard                                   10       MR. FELDMAN: Just before we get there,
          10         17th Floor                                              11   I have two other things. One is we have
                     Stamford, Connecticut 06901
          11
                                                                             12   presented to you the joint exhibits of the
                    By: JACK E. ROBINSON, ESQ.                               13   claimant and the respondent, the three
          12                                                                 14   binders that are before you.
          13
                    K&L GATES LLP                                            15       THE ARBITRATOR: I see that. Thank you.
          14         Attorneys for Wells Fargo Bank N.A.                     16       MR. FELDMAN: And those we have agreed
                     600 N. King Street
          15         Wilmington, Delaware 19801
                                                                             17   will be admitted into evidence.
          16        By: ANDREW SKOUVAKIS, ESQ.                               18       THE ARBITRATOR: They are hereby
                        (Via Teleconference)                                 19   admitted.
          17
          18                                                                 20       MR. ROBINSON: Are you going to admit
          19     Also Present:                                               21   all of them or are you just going to admit
          20       CHRISTOPHER YOUNG (Via Teleconference)
          21       RICHARD BARBASH
                                                                             22   ones you reference?
          22       DONALD TRUDEAU                                            23       MR. FELDMAN: No, I thought we were
          23               ~oOo~                                             24   going to admit all of them.
          24
          25                                                                 25       MR. ROBINSON: No objection.


                                                                                              1 (Pages 1 to 4)
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         Connecticut                                       Nationwide 1-800-310-1769                          Pennsylvania
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  1                  Young                                   1                Trudeau
  2        Q. In fact, right next to their names it          2       A. It would not surprise me. Again, I was
  3   says as special common member or as common member,     3   not privileged to that information.
  4   correct, or as managing member?                        4           MR. ROBINSON: One minute, please, Mr.
  5        A. Yes, it does say that.                         5       Moxley.
  6        Q. So if you remember, in your testimony          6           (Discussion off the record)
  7   with Mr. Feldman, Wells Fargo wired $35 million to     7           MR. ROBINSON: No further questions.
  8   these three parties, correct?                          8       Thank you.
  9        A. That's correct.                                9           MR. FELDMAN: I have no questions of
 10        Q. So isn't it safe to assume that in            10       this witness.
 11   return for the $35 million that these parties         11           THE ARBITRATOR: Okay. Who is next?
 12   received, that they gave up something?                12           MR. ROBINSON: Mr. Trudeau.
 13        A. Well, I don't want to assume anything.        13           MR. FELDMAN: Mr. Young, Mr. Trudeau is
 14   What I stated was --                                  14       about to testify. We're just going to have
 15        Q. Excuse me. Hold on.                           15       to reconfigure in the room here, so he has
 16           THE ARBITRATOR: Let him finish.               16       to move seats. That is all that is going
 17           Excuse me, Mr. Young, could you just go       17       on.
 18        back and repeat yourself. The court              18           MR. ROBINSON: It is now 11 o'clock so
 19        reporter needs to hear you and having            19       we can go for an hour, I would think, before
 20        difficulty at that moment.                       20       lunch.
 21           MR. ROBINSON: I will withdraw the             21           THE ARBITRATOR: Sure.
 22        question if I may and restate.                   22   D O N A L D T R U D E A U, having been first duly
 23           THE ARBITRATOR: All right. Go ahead.          23   sworn by Joseph R. Danyo, a Notary Public, was
 24        Q. Strike that last question, Mr. Young.         24   examined and testified as follows:
 25   What do you think those three parties received in     25   EXAMINATION BY MR. ROBINSON:


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  1                   Young                                  1                 Trudeau
  2   return for the 35 million?                             2        Q. Please state your name.
  3            MR. FELDMAN: Objection as to form. I          3        A. Don Trudeau.
  4        think you should restate that. I don't            4        Q. With respect to this arbitration, what
  5        think it came out the way you wanted to ask       5   is your position?
  6        it. It is backwards.                              6        A. I am here as a representative of Avon
  7        Q. I am going to restate the question again       7   Capital, LLC.
  8   on the advice of Mr. Feldman. In your view, based      8        Q. What is your address, by the way?
  9   on your position at Wells Fargo and familiarity        9        A. My home address?
 10   with the documents, what do you believe these three   10        Q. Or business address.
 11   parties that I just mentioned received in return      11        A. 25 Seir Hill Road, Norwalk, Connecticut.
 12   for the $35 million that Wells Fargo wired to these   12        Q. You have heard the testimony today
 13   three parties?                                        13   regarding these documents. Do these documents
 14        A. I can only assume that these parties          14   paint the entire full picture of what happened with
 15   were part of potentially this agreement that I am     15   respect to this transaction?
 16   looking at here, and the $35 million of the money     16        A. I'm not precisely sure which documents
 17   that they received, the allocations that they         17   you are talking about. If you are just talking
 18   received, were for -- well, I don't want to assume.   18   about the documents --
 19        Q. Do you know?                                  19        Q. The PSA and the bills of sale.
 20        A. I do not know.                                20        A. They do not.
 21        Q. Well, would it surprise you if I told         21        Q. All right. Well, what was the
 22   you that Avon ended up owning all of the membership   22   transaction?
 23   interests of the LLC, because Wells Fargo wired       23        A. Avon Capital was approached by
 24   $35 million to these original LLC members? Would      24   representatives of Life Fund Elite to consider a
 25   that surprise you?                                    25   transaction where it provided life assets, and I


                                                                            24 (Pages 93 to 96)
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                                            Page 105                                                  Page 107
  1                   Trudeau                                1                  Trudeau
  2        it's just in color.                               2           THE WITNESS: Right.
  3             MR. FELDMAN: I got it.                       3           MR. ROBINSON: Right.
  4        Q. All right, Mr. Trudeau, if you could           4           MR. FELDMAN: And the Trust, which is
  5   continue referencing Exhibit 61 as needed to try to    5        sometimes called the Life Trust and
  6   explain what this transaction, quote unquote, was.     6        sometimes just the Trust, refers to Life
  7             THE ARBITRATOR: Just for my                  7        Insurance Fund Elite Trust.
  8        understanding, you are talking about a            8           THE WITNESS: Correct.
  9        transaction. This is talking, this exhibit        9           MR. FELDMAN: Okay, just so we have the
 10        refers to a restructuring overview. Is this      10        nomenclature.
 11        a restructuring of a relationship you            11           THE WITNESS: That's right.
 12        already had or from your perspective was         12           MR. FELDMAN: Great. Thanks.
 13        this something new?                              13        A. So again, in this pictorial
 14             THE WITNESS: This was something new         14   representation, what is illustrated here, I think
 15        from Avon's perspective, and this was the        15   effectively, is that the fund as a source of
 16        proposed structure that Avon was initially       16   liquidity would contribute to Avon $30 million.
 17        entering into with the fund.                     17   The use of those funds would be to acquire the
 18        Q. By the way, why is it called a                18   membership interests from the current life equity
 19   restructuring overview? So it is the fund that is     19   members, specifically Orix, Swiss Re and Bounty.
 20   doing the restructuring, not Avon, right?             20   In exchange --
 21        A. Yes. The fund is restructuring, and the       21           THE ARBITRATOR: I'm sorry. So the fund
 22   restructuring in particular relates to a couple of    22        would contribute to Avon how much? Is that
 23   elements. The first element is a restructuring of     23        here?
 24   the current investor members in the fund. Those       24           THE WITNESS: Yes, 30 million. It is
 25   are represented in the box in the far right, far      25        the top arrow going from the Trust to Avon.


                                            Page 106                                                  Page 108
  1                 Trudeau                                  1                 Trudeau
  2   upper right, which is actually below the halfway       2            THE ARBITRATOR: I see.
  3   part of it where it says current life members Orix     3        A. Then in turn Avon would make payment to
  4   LS, Swiss Re FP and Bounty.                            4   those members, the current members, who would be
  5        Q. So continue, please. Explain, for              5   gone. They are basically out of the fund at that
  6   example, let's start with the two boxes, the           6   point.
  7   current life members in Avon. What is going on         7            So each of these aspects were attractive
  8   there?                                                 8   because the current members actually had
  9        A. So the hub of the transaction is as            9   contributed more cash than they were getting back
 10   follows. Life Insurance Fund Elite, as I said, was    10   for their memberships. It was attractive to Avon
 11   an existing fund. It had existing assets in the       11   because it contributed policies to the fund. This
 12   fund. It had an existing line with HSH Nordbank in    12   says 40 policies. That number is bracketed. I
 13   terms of a credit facility, and it had an existing    13   don't know that that is accurate in any sense, but
 14   structure through which it held those assets. This    14   there were some number of policies that would
 15   Life Insurance Fund Elite Trust.                      15   equate to $30 million in value. It would be
 16            The proposed transaction was designed        16   contributed from Avon to the fund in exchange for
 17   basically to swap out the current members, the        17   this $30 million in cash.
 18   current equity members in the fund.                   18        Q. Let me try to summarize then. So you
 19        Q. By the way, the fund we refer to as the       19   have heard testimony that Wells Fargo wired
 20   LLC, correct?                                         20   $35 million to Orix, Swiss Re and a third party.
 21        A. Correct.                                      21   That was in essence the money that came from the
 22            MR. FELDMAN: Let's all agree because it      22   fund to pay off the old members?
 23        goes back and forth. LLC and the fund, we        23        A. Yes. That's right. I'm not sure if
 24        all mean the same thing, which is Life           24   there is any materiality to that, but this
 25        Insurance Fund Elite LLC.                        25   engineered structure obviously was agreed to by


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                                            Page 109                                            Page 111
  1                  Trudeau                                 1              Trudeau
  2   Avon, but was structured, controlled entirely by       2   bankrupt-remote entity and intended to be
  3   the fund's management and informed by the fund's       3   creditor-proof, so all that happened was
  4   consultant and their various counsel.                  4   that the fund switched out members. They
  5        Q. I understand that, but my specific             5   needed to get rid of Orix, Swiss Re and
  6   question is the 35 million that was wired, in          6   Bounty, and they wanted to get rid of them
  7   return Avon received 100 percent of the fund's         7   at a meaningful discount, so there was some
  8   membership interests?                                  8   pressure to do this as quickly as possible.
  9        A. That's right.                                  9   The fund did that.
 10        Q. Okay. Then my second question is on the       10       There was a PSA that outlined all of the
 11   bottom as part of this transaction, there was a       11   assets. This is a critically important
 12   purchase and sale agreement. Is that the PSA that     12   thing that we are going to discuss in a
 13   we have been referring to?                            13   second. There was a schedule of assets that
 14        A. That was the initial PSA that we              14   the fund initially looked at to make these
 15   referred to. That was the first one that we looked    15   valuations. They didn't do a full formal
 16   at. I don't remember what the exhibit number is,      16   evaluation. We are going to go through that
 17   but it is one of the early exhibit numbers. 2 or      17   in a little bit of detail.
 18   4.                                                    18       So the membership interests then were
 19            THE ARBITRATOR: Counsel, you used a          19   transferred to the special purpose vehicle.
 20        number 35 million, which is different from       20   The Trust was instructed to wire directly to
 21        the chart, but you are saying -- let me just     21   the fund members. That amount is reflected
 22        ask you why are you using 35?                    22   here as 30 million. In actuality, as Jack
 23            MR. ROBINSON: Because that is the            23   referenced, it became 35 million, and there
 24        amount that was wired.                           24   was some initial schedule that reflected not
 25        Q. Mr. Trudeau, I am assuming, because on        25   40 policies but some number of policies that

                                            Page 110                                            Page 112
  1                   Trudeau                                1             Trudeau
  2   the chart 30 is in brackets, the real number is 35,    2   equated to this $35 million in value.
  3   because that is what was wired, correct?               3       As soon as that was done, these fund
  4        A. That's correct, and that adjustment            4   members disappeared, and then the follow-up,
  5   simply reflects the amount of value that was           5   and I will keep going with the rest of the
  6   ascribed to the initially proposed schedule of         6   transaction in a second, but the follow-up,
  7   policies.                                              7   which we can go to right after we finish the
  8            THE ARBITRATOR: So what you are               8   transaction, the follow-up was that the fund
  9        testifying to, if I understand you, is that       9   needed to review in its entirety each of
 10        you were Avon, you got $35 million or            10   these assets to make sure that it had a
 11        actually you directed, you were going to get     11   formal valuation that it could accept into
 12        it from Trust, and you directed that it be       12   the fund and that fit the criteria of the
 13        sent out to Orix, Swiss Re and Bounty, who       13   fund's principal creditor.
 14        were the current members of the LLC?             14       So what has been discussed so far is
 15            THE WITNESS: Yes, and just so I'm            15   entirely about Wells Fargo, and Wells Fargo
 16        precise, I don't want to add confusion, but      16   had an important role as the trustee of the
 17        to be precise, Avon consented to this            17   Trust. However, it was a custodian. It was
 18        arrangement. What ended up happening, and        18   a custodian who as I think opposing counsel
 19        it may be important later as we go through       19   points out, its role was to enforce the
 20        this, is that underneath Avon, which is not      20   tenets of the Trust for those beneficiaries.
 21        reflected here, counsel for Avon created a       21   It didn't guide anything. It didn't make
 22        special purpose vehicle called Avon Capital      22   these decisions of its own accord. I have
 23        Holdings, LLC into which 100 percent of the      23   never spoken to, by the way, or no
 24        membership interests went. The reason for        24   representative that I am aware of from Avon
 25        that was that it was an entirely                 25   spoke to them, but their role was to


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                                            Page 133                                             Page 135
  1                   Trudeau                                1              Trudeau
  2        transaction. They would, the fund is the          2   those assets that were beyond its direct
  3        they, would issue an additional membership        3   ownership or control.
  4        interest in exchange for the contribution of      4       THE ARBITRATOR: And why is that?
  5        this, so I mean it can only be two things.        5   Because the fund -- well, explain that. I
  6        It is either you pay me for it, right, so         6   don't follow that.
  7        that is an equal clear transaction, or it is      7       THE WITNESS: Avon sends them 40
  8        a capital account. I am giving it to you to       8   policies, they reject 20, I have got to
  9        bolster your capital account.                     9   replace 20. I have another ten I can give
 10            THE ARBITRATOR: So in terms of what you      10   you, but then I don't have the other ten.
 11        did is you delivered policies, and you got a     11   So what to be done? So we went to get these
 12        capital account in the LLC that owned the        12   other ten, and not to make too fine a point
 13        assets after the transaction?                    13   of it, I don't want to get yet to this level
 14            THE WITNESS: That's right.                   14   of detail, but each of these policies, even
 15        Q. Then, to continue that line, when GWG         15   the ones that Avon controlled directly, if
 16   fell out and you delivered more policies, you had     16   it takes you 30, 60, 90 days, sometimes
 17   an increase in your capital account for doing that?   17   more, and the reason it would take you more
 18        A. That's right. But the only reason for         18   is if you needed to do a life expectancy
 19   that second in kind thing was because they weren't    19   review, so they would say they are
 20   there. Otherwise we wouldn't have done that. So       20   tentatively in the fund, listed at some
 21   what is important to note here or two things, I       21   value, while that is happening, the fund is
 22   think. One, just to clarify, so Avon did not          22   not paying those premiums. Somebody has to
 23   manage these assets directly.                         23   pay those premiums.
 24            THE ARBITRATOR: Even before?                 24       So if they were Avon's, they were under
 25            THE WITNESS: Even before.                    25   Avon's control, great, that's fine, but if

                                            Page 134                                             Page 136
  1                  Trudeau                                 1             Trudeau
  2        A. It held them some in an offshore entity        2   they are someone else's, they're someone
  3   called Tranen. Some were managed in another            3   else's management or they're subject to some
  4   facility, Ridgewood Asset Management, but these        4   other facility, they need to be paid. If
  5   were more expensive capital structures that were       5   they are not paid, the policy lapses. It is
  6   much more tactical in nature and where the cost of     6   just black and white. I mean there is no
  7   capital there was 15, 18, 20 percent as opposed to     7   way to transfer that obligation from the
  8   six or seven-year, whatever it was, five-year          8   agreement between Avon and Life Elite to an
  9   remaining on 2 percent.                                9   insurance company or to a third party, and
 10            THE ARBITRATOR: So when you talked           10   in some of those cases even those were
 11        about switching out the death person, you        11   rejected or they went back and forth.
 12        meant that from Avon's perspective you got       12       I mean not to pick on a particular one,
 13        rid of these other outfits that you were         13   but since there was a little time spent with
 14        using for management and for funding, and        14   the expert on Blau, Blau went back and forth
 15        you were in a position now through the fund      15   for that very same reason. I don't remember
 16        to take advantage of the HSH Nordbank            16   precisely, but I think that Blau was one of
 17        facility, which was a much more advantageous     17   the policies that was in at the very end
 18        facility?                                        18   eventually, so eventually it did make it in
 19            THE WITNESS: That's right, and this is       19   after being in and out and back and forth.
 20        the main point, so there is a universe of        20       And I didn't follow exactly his
 21        assets. If you reject that universe of           21   accounting for it, but you can see that on
 22        assets, it is not as though Avon has another     22   the schedule it went in, it was valued at a
 23        universe of assets to pull from. So when         23   million 5, and then it came back, and we
 24        over time those assets were rejected, Avon       24   owed him 2 million. So we lost 500,000 even
 25        broadened its fulfillment activities to          25   though we did nothing, and then it comes


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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
UNIVERSITAS EDUCATION, LLC,

                          Judgment Creditor,                  :

                 -against-                                    :

NOVA GROUP, INC., as trustee, sponsor and                     :
fiduciary of THE CHARTER OAK TRUST
WELFARE BENEFIT PLAN,                                         :
                                                                   Case Nos. 11 CV 1590-LTS-HBP and
                          Judgment Debtor,
                                                                   11-8726-LTS
                 -and-

Daniel E. Carpenter, Charter Oak Trust Welfare
Benefit Plan, Grist Mill Capital, LLC, Grist Mill
Holdings, LLC, the Grist Mill Trust Welfare
Benefit Plan, Avon Capital, LLC, Hanover Trust
Company, Carpenter Financial Group and Phoenix
Capital Management, LLC,

                            Respondents.
---------------------------------------------------------------X
                                                         !

                  DECLARATION OF MICHAEL BARNETT
        IN SUPPORT OF UNIVERSITAS EDUCATION, LLC’S MOTION FOR
   A PRELIMINARY INJUNCTION, PERMANENT INJUNCTION AND TURNOVER!

        MICHAEL BARNETT, an attorney admitted to practice law in this Court, declares the

following under penalty of perjury pursuant to 28 U.S.C. §1746:

        1.       I am an associate at Loeb & Loeb LLP, attorneys for Universitas Education, LLC

(“Universitas”), the Petitioner/Judgment Creditor in the above-captioned proceeding.

                                             INTRODUCTION

        2.       I respectfully make this declaration pursuant to Local Rule 6.1(d) and in support

of Universitas’ motion, brought by Order to Show Cause, pursuant to Fed. R. Civ. P. 65(a), Fed.
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R. Civ. P. 69, N.Y. C.P.L.R § 5225(b) and the Court’s Individual Practice Rule A(4)(b), for a

preliminary and then permanent injunction, and turnover of certain monies and assets.

          3.   This motion is brought against Daniel E. Carpenter, an officer, shareholder and/or

manager of Judgment Debtor Nova Group, Inc. (“Nova”), and the following entities – Nova, the

Charter Oak Trust Welfare Benefit Plan (the “Charter Oak Trust” and “Charter Oak Trust

2009”), Grist Mill Capital, LLC (“Grist Mill Capital”), Grist Mill Holdings, LLC (“Grist Mill

Holdings”), the Grist Mill Trust Welfare Benefit Plan (“Grist Mill Trust”), Avon Capital, LLC

(“Avon Capital”), Hanover Trust Company (“Hanover”), Carpenter Financial Group (“Carpenter

Financial”), Phoenix Capital Management, LLC (“Phoenix”), and subsequent transferees and

entities affiliated with Mr. Carpenter but unknown to Universitas at this time (collectively the

“Respondents”).

          4.   Universitas is proceeding by Order to Show Cause against Mr. Carpenter, against

whom it seeks a preliminary injunction, a permanent injunction and turnover Order.

          5.   Universitas is proceeding by Notice of Motion against the remaining

Respondents, against which it seeks permanent (but not preliminary) injunctions and turnover

Orders.

          6.   By this motion, Universitas requests an Order directing the Respondents to each

turn over (and/or transfer, assign, or arrange to be transferred or assigned) to Universitas money

and/or assets that were improperly transferred to them; these monies and/or assets originated

with, or belong to, Nova and/or the Charter Oak Trust.

          7.   Universitas requests that the Court make the turnover order applicable to all

subsequent transferees of the Respondents that are controlled, directly or indirectly, by Mr.

Carpenter. For the reasons set forth below and in Universitas’ accompanying memorandum of



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law, Universitas requests that the Respondents be ordered to turn over monies or other assets in

the following amounts1:

                             •      Grist Mill Capital – $31,263,842.75

                             •      Daniel E. Carpenter – $26,776,834.942

                             •      Grist Mill Holdings – $21,000,000.00

                             •      Carpenter Financial – $11,140,000.00

                             •      Avon Capital – $6,710,065.92

                             •      Phoenix – $5,000,000.00

                             •      Grist Mill Trust – $4,487,007.81

                             •      Hanover – $1,200,000.00

              8.             Universitas also seeks a preliminary injunction against Mr. Carpenter, enjoining

him from, directly or indirectly, causing, making, permitting or suffering any sale, assignment or

transfer of, or any interference with, any asset or property of his, and any asset or property of any

company, corporation or entity (including any trusts) in which he has a direct or indirect interest

or control; provided that Mr. Carpenter be permitted to expend and/or transfer up to $20,000.00

per month for ordinary expenses of his or one of his entities, with any such payments or transfers

to be reported, in writing, to Universitas’ counsel within seven (7) days of such payment/transfer

being made.

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
              1
         The total amount actually turned over would of course be limited to the amount of
Universitas’ judgment.
              2
         The amount sought from Mr. Carpenter is the total amount siphoned from Nova as
Trustee of the Charter Oak Trust ($31,263,842.75), less the amount of this money that was
improperly transferred to the Grist Mill Trust ($4,487,007.81). Universitas does not at this time
claim that the Grist Mill Trust is an alter ego of Mr. Carpenter, although the transfers of Charter
Oak Trust funds to Grist Mill Trust were improper and should result in a turnover Order against
the Grist Mill Trust in the amount of $4,487,007.81.
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       9.      Additionally, Universitas seeks a permanent injunction prohibiting further

transfers of assets of the Respondents – including any asset or property of Mr. Carpenter’s, and

any asset or property of any company, corporation or entity (including any trusts) in which he

has a direct or indirect interest or control – until Universitas’ judgment is satisfied in full. These

assets include the following life insurance policies owned or held by the Charter Oak Trust

(identified by insured last name, insurance carrier and policy number):

               •   Collins – PHL Variable Insurance Policy No. 975 279 51

               •   Paulsrud – PHL Variable Insurance Policy No. 975 294 11

               •   Robertson – PHL Variable Insurance Policy No. 975 295 60

               •   Zahner – PHL Variable Insurance Policy No. 975 293 42

               •   Bolton – Lincoln Life Policy No. JJ7121879

               •   Clinard – Lincoln Life Policy No. JJ7105688

               •   Lowry – Lincoln Life Policy No. JJ7130995

               •   Nordin – Lincoln Life Policy No. JJ7075457

       10.     The Charter Oak Trust owns (or once owned) policies insuring the lives of several

hundred individuals. These policies are assets of the Charter Oak Trust that can be used to

satisfy Universitas’ judgment against Nova. Universitas therefore also seeks an Order directing

the retitling of any insurance policies that were previously held by the Charter Oak Trust but

improperly transferred to another entity controlled by Mr. Carpenter. One such policy is a policy

issued by Sun Life Financial insuring the life of a woman with the last name Amsterdam (Policy

Number 020158601).

       11.     Finally, as discussed below, there are four (4) Charter Oak Trust policies that

were issued by PHL Variable Insurance Company (“PHL”) and are the subject of litigation


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between the Charter Oak Trust and PHL. Universitas seeks an Order directing that Universitas

directly receive any monies or assets that PHL (or any of its affiliates) may pay to the Charter

Oak Trust, or that the Charter Oak Trust or any of its affiliates receive, in respect of these 4

policies.



                  UNIVERSITAS FACES THE RISK OF IRREPARABLE HARM ABSENT
                     A PRELIMINARY INJUNCTION AGAINST MR. CARPENTER

              12.            Universitas has not previously moved for a preliminary injunction against Mr.

Carpenter with respect to the subject matter of this motion for turnover. On March 4, 2013,

Universitas moved for, and the Court granted on consent, a preliminary injunction against Mr.

Carpenter, his wife Molly Carpenter and Moonstone Partners, LLC (a company the Carpenters

control), with respect to insurance monies payable for property damage to a Rhode Island

oceanfront home that Universitas believes was improperly purchased with misappropriated

Nova/Charter Oak Trust funds. See Dkt. No. 219.3

              13.            Universitas’ request for an Order to Show Cause against Mr. Carpenter – as

opposed to its proceeding by Notice of Motion, which it is doing for the remaining Respondents

– is attributable to Mr. Carpenter’s attempting to transfer assets out of the rightful possession of

Nova/Charter Oak Trust following the entry of judgment and service of Restraining Notices.

Additionally, as discussed below, Mr. Carpenter faces the risk of a reinstatement of a prior,

vacated conviction on fraud charges, as well as a grand jury indictment in the District of

Connecticut. Either of these events could cause Mr. Carpenter to further transfer, expend or

conceal money that should be used to satisfy Universitas’ judgment. Also, since Mr. Carpenter


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       Unless otherwise stated, all references to docket entries are for those in Case No. 11-
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has a demonstrable tendency to commingle the assets of his various entities, there is also the

possibility that if his overturned conviction in the District of Massachusetts is reinstated, money

that should be used to satisfy Universitas’ judgment could be seized by the Government for penal

or restitutionary purposes. In sum, the potential imminence of Mr. Carpenter’s being indicted or

of going to prison increases the urgency of this motion. Just last week, Nova’s counsel,

responding to the Court’s Order that Nova deposit the judgment amount into the Court no later

than October 4, claimed that neither Nova nor the Charter Oak Trust had the assets necessary to

comply with the Order; and that the Carpenter-controlled entities to which Mr. Carpenter

transferred Universitas’ money in 2009 no longer have the money. See Exhibit 53 (“Such cash

and assets are no longer under the control of the judgment debtor or of the transferee entities”).

These disclosures reinforce Mr. Carpenter’s liability as an alter ego of the transferee entities and

the necessity of a preliminary injunction enjoining the transfer of all assets controlled directly or

indirectly by Mr. Carpenter, through a shell entity or otherwise.

       14.     Nova, the Charter Oak Trust and Grist Mill Capital are already subject to

Restraining Notices that should prevent them and their principals from transferring assets that

could be used to satisfy Universitas’ judgment. Yet representatives of these companies – upon

information and belief, at Mr. Carpenter’s direction – have contacted insurance companies and

other parties in an attempt to designate Grist Mill Capital (a company Mr. Carpenter controls) as

the owner of certain policies that are owned by the Charter Oak Trust. This is a blatant violation

of the Restraining Notices that Universitas issued, and an attempt to frustrate Universitas’

collection of its judgment.




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              15.            Attached as Exhibit 1 is a true and complete copy of a Restraining Notice, dated

June 22, 2012, that was served on Nova and the Charter Oak Trust, as well as an Affidavit of

Service for this Restraining Notice.

              16.            Attached as Exhibit 2 is a true and complete copy of a Restraining Notice, dated

June 22, 2012, that was served on Grist Mill Capital, as well as an Affidavit of Service for this

Restraining Notice.

              17.            On March 29, 2013, several weeks after this Court issued an Order to Show Cause

on Universitas’ turnover motion brought in relation to the Carpenters’ Rhode Island vacation

home (dkt. no. 219), a Nova representative wrote to Sun Life Financial seeking to change the

owner and beneficiary of a Sun Life policy (insuring the life of Ms. Amsterdam), from the

Charter Oak Trust to Mr. Carpenter’s Grist Mill Capital. Attached as Exhibit 3 is a true and

complete copy of the March 29, 2013 letter from Ms. Murphy to Sun Life Financial.

              18.            On May 16, 2013, a week after the Court held its hearing on Universitas’ turnover

motion related to the Rhode Island home, Wayne H. Bursey, who is related by marriage to Mr.

Carpenter4, wrote to Lincoln National Life Insurance Company (“Lincoln Life”) seeking to

change the owner and beneficiaries of four Lincoln Life policies, from the Charter Oak Trust to

Grist Mill Capital. Attached as Exhibit 4 is a true and complete copy of the correspondence

between Mr. Bursey and Lincoln Life that Universitas has received.5 Based on the July 30, 2013


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                  Mr. Bursey is married to the sister of Molly Carpenter, Daniel Carpenter’s wife.
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         Mr. Bursey’s correspondence shows that he continues to operate Nova and the Charter
Oak Trust, even though Nova’s counsel said back in August 2012 that Mr. Bursey had resigned
(see Exhibit 5 attached – a true and complete copy of an August 30, 2012 letter from Joseph M.
Pastore, III to me); and Mr. Bursey has asserted his Fifth Amendment right against self-
incrimination with regard to all matters pertaining to Nova, the Charter Oak Trust, Grist Mill
Capital and the Grist Mill Trust (see Exhibit 6 attached – a true and correct copy of a May 8,
2013 letter from Mr. Bursey’s attorney, Stephen V. Manning, to the Court).
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letter from Lincoln Life to Mr. Bursey (see Exhibit 4), we believe that Mr. Bursey was

unsuccessful in his attempt to effect a transfer of the policies to Grist Mill Capital.

       19.     Without an injunction, Mr. Carpenter, having already arranged for the transfer of

more than $30 million out of the rightful possession of Nova and the Charter Oak Trust, will

continue to direct the efforts of individuals such as Mr. Bursey and Ms. Murphy to transfer the

ownership of insurance policies to Grist Mill Capital. Unless a preliminary injunction issues,

Mr. Carpenter will continue to transfer Universitas’ money among the dozens if not several

hundred entities that he has created, having already, as documented in these papers, transferred

Universitas’ money across a half-dozen entities in the year 2009 alone. Mr. Carpenter is also

likely spending or otherwise using money that could be used to satisfy Universitas’ judgment.

Universitas faces irreparable harm because each diminishment of the assets controlled by Mr.

Carpenter (whether in his name or the name of one of his many entities) increases the likelihood

that Universitas will not be able to collect on its judgment.

       20.     Pursuant to the Court’s Individual Practice Rule A(4)(b), requiring that “the

applicant [for a preliminary injunction] provide a copy of the proposed Order to Show Cause and

all supporting papers to the opposing party before presenting the application to Chambers,”

Universitas provided advanced drafts of its papers to counsel for the various Respondents on

September 5. Since then, respective counsel for Universitas and the Respondents have had

extensive communications, both written and over the phone, about a possible Order to Show

Cause entered on consent. These communications did not result in such a stipulated Order,

however, because Mr. Carpenter’s counsel would not agree to a preliminary injunction as broad

as the one Universitas is seeking. Universitas now proceeds against Mr. Carpenter by Order to

Show Cause, and against the other Respondents by Notice of Motion. After deciding to proceed



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by Order to Show Cause against Mr. Carpenter alone, Universitas sent advanced drafts of its

revised, proposed Order to Show Cause and supporting papers to Anthony J. Siano, Mr.

Carpenter’s attorney, on October 4 and again on October 8.

                                  FACTUAL BACKGROUND

          Daniel E. Carpenter

          21.   An insurance agent by profession, Mr. Carpenter is an attorney by training whose

license to practice law was suspended by the State of Connecticut in 2009. Attached as Exhibit

7 is a true and complete copy of a January 6, 2009 Order from the Connecticut Superior Court

suspending Mr. Carpenter’s law license.

          22.   Mr. Carpenter has twice been found guilty of mail and wire fraud by juries in the

District of Massachusetts (in 2005 and 2008, respectively), on the same allegations of having

misappropriated client escrow funds. Both times, the trial judge in the case overturned the guilty

verdicts. The government is presently appealing the overturning of the second guilty verdict to

the First Circuit, with the appeal scheduled for oral argument on November 7. See U.S. v.

Carpenter, Case No. 04-10029-GAO (D. Mass.), Case No. 11-2131 (1st Cir.).

          23.   Mr. Carpenter is also a target of a federal grand jury investigation in Connecticut,

arising from the activities of the Charter Oak Trust. Attached as Exhibit 8 is a true and complete

copy of a District of Connecticut Search and Seizure Warrant, dated May 25, 2011, executed in

connection with a search of an office building that Mr. Carpenter (through one of his companies)

owns at 100 Grist Mill Road in Simsbury, Connecticut. Mr. Carpenter is first among the targets

listed.




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       24.     Magistrate Judge Pitman, in a report dated July 11, 2013, recommended that Mr.

Carpenter, as a Nova officer or manager, be sanctioned for Nova’s failure to comply with the

Court’s August 17, 2012 on post-judgment discovery. See Dkt. No. 278.

       25.     In a sentencing memorandum submitted by the United States following Mr.

Carpenter’s first (and ultimately overturned) conviction, the government alleged that Mr.

Carpenter had withheld personal financial information from the U.S. Probation Office, and that

he claimed a net worth of negative $129,000, even though he was (at the time) making

substantial gifts to some of his employees and his prep school, and could afford to pay hundreds

of thousands of dollars to his lawyers. Attached as Exhibit 9 is a true and complete copy of the

December 14, 2005 sentencing memorandum submitted by the United States in U.S. v.

Carpenter, Case No. 04-10029-GAO (D. Mass.).

       26.     After Mr. Carpenter was found guilty for a second time on the same fraud charges

in 2008, he requested permission to travel overseas while awaiting sentencing. The Government

opposed his request, noting, among other things, “serious concerns about the completeness and

truthfulness of Carpenter’s representations to Probation and the Court about his assets and his

business dealings.” Specifically, according to prosecutors:

               Carpenter disclosed no personal income, no business holdings, no real estate
               assets, virtually no liquid assets, and a negative net worth. He also disclosed no
               significant assets held in the name of or for the benefit of his wife. Yet, as noted
               above, Carpenter now admits to spending over $10,000,000 in legal fees in recent
               years, and evidently has the means to travel extensively overseas.

Attached as Exhibit 10 is a true and complete copy of the Government’s Opposition to Mr.

Carpenter’s Request to Travel Internationally, dated April 14, 2010, and filed in U.S. v.

Carpenter, Case No. 04-10029-GAO (D. Mass.).




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       27.     Mr. Carpenter admits that he does not maintain any bank accounts in his own

name. Exhibit 47, April 17 Tr. at 26:3-7. Yet Mr. Carpenter has acknowledged having “easily”

opened at least 200 bank accounts in the last few years. Exhibit 47, April 17 Tr. at 23:13-16.

These accounts have been presumably opened in the names of the numerous entities that Mr.

Carpenter controls.

       28.     The December 14, 2005 sentencing memorandum submitted by the Government

(Exhibit 9) also claims that Mr. Carpenter had (even at that time, eight years ago) a history of

attempts to evade the enforcement of civil judgments against him and his companies. The

memorandum includes the following as an example (at page 7 of Exhibit 9):

               When in April, 2004, the plaintiffs [in another case] finally located and obtained a
               writ of execution against property held by Carpenter in Florida, Carpenter
               promptly conveyed the land to his sister for $0, following which she proceeded to
               encumber it with mortgages held by various Carpenter-controlled businesses,
               presumably in an effort to so dissipate the value that the plaintiffs would
               effectively recover nothing.
!
       29.     Mr. Carpenter has formed, or arranged for the formation of, scores, if not several

hundred, companies, corporations and trusts. Universitas has come across several dozen of these

entities alone in its effort to discover what Mr. Carpenter did with Universitas’ money after he

arranged for it to be transferred out of the Charter Oak Trust. These entities include Grist Mill

Capital, Grist Mill Holdings, Hanover, Carpenter Financial, Phoenix, Audit Risk Indemnity

Association, LLC, SADI Trust, Capital City Partners, LLC, Benefit Concepts, Inc., Benefit

Concepts Advisors, LLC, Benefit Concepts New York, Benistar 419 Plan Services, Benistar

Client Services, Inc., Benistar Insurance Group, Benistar Insurance Group Holdings, LLC,

BCNY Litigation Group, LLC, BPETCO Litigation Group, Birch Hill Partners, Carpenter

Financial Group Welfare Benefit Trust, Nova Benefit Plans, LLC, Nova Group Holdings, LLC,

Nova Partners, U.S. Benefits Group, Inc. and Worthy Investments, LLC. See also Exhibit 9


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(last page of 2005 sentencing memorandum noting that Mr. Carpenter was at that time associated

with at least 30 entities).

        30.     These entities, all of which claim an address of 100 Grist Mill Road in Simsbury,

Connecticut (where Mr. Carpenter, through one of his companies, owns an office building), have

confusingly interwoven chains of ownership. For instance, a limited liability company might

have two members, both of which are themselves companies or corporations, and each of which

is owned by other companies or corporations. For instance, at his April 17, 2013 deposition in

this action, Mr. Carpenter testified that he controls Grist Mill Capital through his control of Grist

Mill Capital’s two members, Grist Mill Holdings and Caroline Financial Group. Exhibit 47,

April 17 Tr. at 16:24-25, 17:1-5. Attached as Exhibit 11 is a matrix prepared several years ago

by Mr. Carpenter’s accountants at Simione Macca & Larrow LLP, showing the ownership

structure of several dozen entities.

        31.     I draw the Court’s attention to these entities not in an attempt to authoritatively

describe the extent of Mr. Carpenter’s tangled web of entities, but to demonstrate how thick the

web is and why a preliminary injunction of the type Universitas is seeking is warranted.

        32.     Mr. Carpenter is not shy about his conduct. For instance, in a deposition in this

action, he admitted that Nova is a “shell corporation”; that Grist Mill Holdings, LLC is his “alter

ego” for collecting insurance commissions; and that in an effort to avoid creditors, he arranged

for one of his companies, Moonstone Partners, LLC, to give a mortgage on property it owned to

another one of his companies, Hanover Trust Company, 15 months after the property was

purchased. Exhibit 47, April 17 Tr. at 47:15-18, 76:2-5, 124:3-25.

        33.     In addition, at a deposition in this action on April 17, 2013, Mr. Carpenter gave

the following testimony:



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         All of – anything that I invested in is either held in an LLC or it's held in a trust,
         you know, for either estate planning purposes or protection, you know, asset protection,
         you know, type purposes, so that if something happens on one property, people can only
         sue that property and they cannot sue other properties that are owned by different trusts
         or different LLCs.

Exhibit 47, April 17 Tr. at 13:6-15.

         Universitas is a Judgment Creditor and Beneficiary

         34.    Universitas is the beneficiary of the Charter Oak Trust in relation to two life

insurance policies placed into the Trust by the late Sash A. Spencer, formerly the CEO of

Holding Capital Group, Inc. Mr. Spencer named Universitas the sole, irrevocable beneficiary of

a Charter Oak Trust death benefit comprising the proceeds payable under two Lincoln Life

policies totaling $30 million. 6/5/12 Court Order at 1-2 (dkt. no. 40).

         35.    Nova is a Delaware corporation that purports to act as Trustee of the Charter Oak

Trust.

         36.    In May 2009, following Mr. Spencer’s death in June 2008, Lincoln Life paid

$30.7 million (including interest on the policy proceeds) to Mr. Bursey, Nova’s President, who

also purported to act as a Trustee of the Charter Oak Trust. 6/5/12 Court Order at 2. Attached as

Exhibit 12 are true and complete copies of checks issued by Lincoln Life to Mr. Bursey as

Trustee of the Charter Oak Trust, as payment on the two Lincoln Life policies insuring Mr.

Spencer’s life. Attached as Exhibit 13 is a true and complete copy of Nova’s August 28, 2012

filing with the Connecticut Secretary of State, showing Mr. Bursey to be Nova’s President (as

well as Mr. Carpenter’s wife, Molly, to be Nova’s Treasurer). Attached as Exhibit 14 are true

and complete copies of Nova filings with the Delaware Secretary of State, showing Mr.

Carpenter to be Nova’s Chairman. See also Exhibit 15 (true and complete copy of a July 12,

2013 Report and Recommendation, issued by Magistrate Judge Pitman, finding Mr. Bursey and



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Mr. Carpenter to both be officers and/or managers of Nova and recommending that they be held

in contempt for Nova’s violation of a Court Order on discovery).

       37.     Lincoln Life’s payment of $30.7 million to the Charter Oak Trust in May 2009

came after Mr. Bursey, in 2008 and 2009, wrote several letters to the insurance carrier imploring

it to pay out the insurance proceeds so that the Charter Oak Trust could pay Universitas. The

following are excerpts from Bursey’s letters, written to induce Lincoln Life to pay out on the

Spencer policies:

               “Mr. Spencer … decided to pass on a charitable legacy to his foundation
               Universitas Education, LLC as the beneficiary of his life insurance and he elected
               to entrust that responsibility to our Charter Oak Trust in order to make that
               happen. It is shameful that we cannot proceed with his desires as expeditiously as
               he would have expected if he were alive today.”

               “You must understand that we have a charity to pay and no one can understand
               Lincoln’s delay at this point.”

Attached as Exhibit 16 are true and complete copies of letters that Mr. Bursey wrote to Lincoln

Life, dated October 22, 2008, December 11, 2008, March 6, 2009, April 22, 2009 and April 27,

2009, respectively.

       38.     Following Lincoln Life’s payment to the Charter Oak Trust in May 2009, Nova

refused to pay any portion of the death benefit to Universitas. 6/5/12 Court Order at 2.

       39.     By Arbitration Award dated January 24, 2011, Arbitrator Peter L. Altieri, Esq.

held Nova liable to Universitas for a total of $26,525,535.88. 6/5/12 Court Order at 2. The

Arbitration Award required Nova to deposit this amount in the escrow account of its then-lead

law firm, Updike Kelly & Spellacy, P.C. Nova refused to do so.

       40.     This Court confirmed the Arbitration Award on June 5, 2012 (dkt. no. 40),

awarding Universitas pre-judgment interest at an annual rate of ten percent (10%) and entering

judgment on June 7 for Universitas in the amount of $30,181,880.30 (dkt. no. 41).

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       41.     Following the entry of judgment, Nova has refused to pay anything to Universitas.

On October 4, 2013, Nova’s attorney wrote to the Court claiming that Nova is unable to comply

with the Court’s September 30, 2013 Order to deposit the judgment amount with the Court.

Exhibit 53.

                 IMPROPER TRANSFERS OF UNIVERSITAS’ MONEY

       42.     Through subpoenas to third parties, most importantly to TD Bank, Universitas has

discovered that Mr. Bursey, the President of Nova, initially deposited the $30.7 million received

from Lincoln Life into a TD Bank account standing in the name of the Charter Oak Trust

(Account No. 424 277 4548); the deposit occurred on or about May 18, 2009. Mr. Bursey was

the only signatory on this account standing in the Charter Oak Trust’s name (Account No. 424

277 4548). Attached as Exhibit 17 are true and complete copies of TD Bank documents

showing Mr. Bursey to be the only signatory on Account No. 424 277 4548, as well as Mr.

Bursey’s deposit of $30.7 million into Account No. 424 277 4548, on or about May 18, 2009.

       43.     Although Mr. Bursey was the only signatory on the Charter Oak Trust account,

Mr. Carpenter helped arrange for that account to be opened. Attached as Exhibit 18 is a true and

complete copy of a May 2009 e-mail exchange, produced by Grist Mill Capital pursuant to Court

Order, documenting Mr. Carpenter’s unsuccessful attempt to open a Charter Oak Trust account

at Bank of America. Upon refusing to provide Bank of America with “Know Your Customer”

disclosures as a condition of opening an account for the Charter Oak Trust, Mr. Carpenter

informed Bank of America that “we have” opened Charter Oak Trust accounts at two other

banks, presumably including TD Bank.

       44.     Within 5 months of the May 2009 deposit into the Charter Oak Trust, Mr. Bursey

and Mr. Carpenter – who at the time was awaiting sentencing following a second criminal trial



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that ended in multiple guilty verdicts – transferred all of Universitas’ money to TD Bank

accounts standing in the names of other entities in Mr. Carpenter’s control, including Grist Mill

Capital, Grist Mill Holdings, Avon Capital, Carpenter Financial and Hanover. These other

entities share the same business address as Nova (100 Grist Mill Road in Simsbury, Connecticut)

and are all run by Mr. Carpenter. The TD Bank accounts of these entities all had Mr. Carpenter

as a signatory, and were opened soon after Lincoln Life’s payment of $30.7 million to the

Charter Oak Trust for Universitas’ benefit.

       45.     The opening of these myriad accounts in the names of different companies

allowed Mr. Carpenter to disperse Universitas’ money after he received about $30.7 million from

Mr. Bursey. The transfers of this money, from the Charter Oak Trust to entities that Mr.

Carpenter controls, were made without consideration, and have no valid basis, particularly since

Mr. Bursey and Carpenter were supposed to be holding this money in trust for Universitas. And,

despite the validity of these transfers being the central issue on a prior turnover motion made by

Universitas (dkt. no. 219), neither Mr. Carpenter nor anyone else has been able to provide a

valid, documented basis for the transfers.

       46.     Almost all of Universitas’ money was initially transferred to Grist Mill Capital, a

company that Mr. Carpenter readily acknowledges he controls. Exhibit 47, April 17 Tr. at

16:24-25, 17:1-5 At a deposition of Grist Mill Capital pursuant to Fed. R. Civ. P. 30(b)(6), the

company’s authorized agent and deposition designee, Peter A. Goldman, could not explain why

the Charter Oak Trust was making separate transfers in the amounts of $8,677,276.75,

$2,186,566.00 and $19,800,000.00 to Grist Mill Capital in the months following Lincoln Life’s

payment to the Charter Oak Trust. Attached as Exhibit 19 is a true copy of an excerpt from the

transcription of the April 30, 2013 deposition of Mr. Goldman.



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       47.     Mr. Goldman also testified at the July 26, 2013 deposition of Nova and the

Charter Oak Trust, as an authorized agent and deposition designee of both of these entities. At

this deposition, Mr. Goldman testified that Grist Mill Capital never loaned the Charter Oak Trust

any money for the purposes of making premium payments on the Spencer policies. Mr.

Goldman also testified that, to his knowledge, no employee ever benefitted from the Charter Oak

Trust, even though the Trust purports to be an employee welfare benefit plan. Attached as

Exhibit 20 is a true copy of an excerpt from the transcription of the July 26, 2013 deposition of

Mr. Goldman.

       Specific transfers

       48.     On or about May 21, 2009, Mr. Bursey transferred $8,677,276.75 from the

Charter Oak Trust’s TD Bank account (Account No. 424 277 4548) into a TD Bank account

standing in the name of Grist Mill Capital (Account No. 424 277 4712). Attached as Exhibit 21

are true and complete copies of TD Bank documents showing this transfer of $8,677,276.75.

       49.     On or about May 26, 2009, Mr. Bursey transferred $2,186,566.00 from the

Charter Oak Trust’s TD Bank account (Account No. 424 277 4548) into the same Grist Mill

Capital account (Account No. 424 277 4712). Attached as Exhibit 22 are true and complete

copies of TD Bank documents showing this transfer of $2,186,566.00.

       50.     These two deposits, from the Charter Oak Trust account (which held only

Universitas’ money paid by Lincoln Life) to the Grist Mill Capital account, represent the only

two sources of funds for the Grist Mill Capital account during May 2009 and June 2009.

Attached as Exhibit 23 are true and complete copies of the May 2009 and June 2009 monthly

account statements for the Grist Mill Capital account (Account No. 424 277 4712), showing that

in these months the only monies it had on deposit came from money held by the Charter Oak



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Trust for the benefit of Universitas. Attached as Exhibit 24 is a true and complete copy of the

account-opening document for the Grist Mill Capital account at TD Bank with the Account

Number 424 277 4712, listing Mr. Carpenter as a signatory on this account.

       51.     On or about May 22, 2009, Mr. Carpenter transferred $2,100,000.00 from the

Grist Mill Capital account (Account No. 424 277 4712) to the Grist Mill Holdings account

(Account No. 424-261-7136). Attached as Exhibit 25 is a true and complete copy of the

account-opening document for the Grist Mill Holding account at TD Bank with the Account

Number 424 261 7136, listing Mr. Carpenter as a signatory on this account. Attached as Exhibit

26 are true and complete copies of a TD Bank document showing this transfer of $2,100,000.00.

This money, $2,100,000.00, originated with the Charter Oak Trust, since the only funds that

Grist Mill Capital had on deposit in May and June 2009 are the result of the transfers it received

from the Charter Oak Trust (of $8,677,276.75 and $2,186,566.00, respectively).

       52.     On or about June 9, 2009, Mr. Carpenter transferred $2,833,568.64 from the Grist

Mill Capital account (Account No. 424 277 4712) to a JP Morgan account standing in the name

of the Grist Mill Trust (JP Morgan Account No. 904 028 488). Attached as Exhibit 27 are true

and complete copies of a TD Bank document showing this transfer of $2,833,568.64. This

money, $2,833,568.64, originated with the Charter Oak Trust, since the only funds that Grist

Mill Capital had on deposit in May and June 2009 are the result of the transfers it received from

the Charter Oak Trust (of $8,677,276.75 and $2,186,566.00, respectively).

       53.     Also on or about June 9, 2009, Mr. Carpenter transferred an additional

$965,314.17 from the Grist Mill Capital account (Account No. 424 277 4712) to a JP Morgan

account standing in the name of the Grist Mill Trust (JP Morgan Account No. 904 028 488).

Attached as Exhibit 28 are true and complete copies of a TD Bank document showing this



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transfer of $965,314.17. This money, $965,314.17, originated with the Charter Oak Trust, since

the only funds that Grist Mill Capital had on deposit in May and June 2009 are the result of the

transfers it received from the Charter Oak Trust (of $8,677,276.75 and $2,186,566.00,

respectively).

       54.       To reiterate, when Grist Mill Capital transferred a total $3,798,882.81 to the Grist

Mill Trust on June 9, 2009, it was transferring money that originated from Lincoln Life’s

payment of $30.7 million to the Charter Oak Trust, since the only money that Grist Mill Capital

had in its account came from deposits of $8,677,276.75 and $2,186,566, respectively, both of

which came from the Charter Oak Trust account at TD Bank (account number 424 277 4548).

       55.       On or about July 15, 2009, Mr. Carpenter transferred $1,200,000.00 from the

Grist Mill Holdings account (Account No. 424-261-7136) to the Hanover account (Account No.

4725 632 940). This money, $1,200,000.00, originated with the Charter Oak Trust, since Grist

Mill Holdings’ money came from Grist Mill Capital, which in turn received its money from the

Charter Oak Trust. Attached as Exhibit 29 is a true and complete copy of a partial TD Bank

account statement for Hanover for the month of July 2009 that shows the transfer. Attached as

Exhibit 30 is a true and complete copy of the account-opening document for the Hanover

account at TD Bank with the Account Number 4725 632 940, listing Mr. Carpenter as a

signatory on this account.

       56.        On or about October 27, 2009, Mr. Bursey transferred $19,800,000.00 from the

Charter Oak Trust’s TD Bank account (Account No. 424 277 4548) into the Grist Mill Capital

account (Account No. 424 277 4712). Attached as Exhibit 31 are true and complete copies of

TD Bank documents showing this transfer of $19,800,000.00.




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       57.      At the time of this transfer of $19,800,000.00, the Charter Oak Trust had not

received any other deposits aside from the Lincoln Life payments in May 2009 (see Exhibit 32

attached for true and complete copies of monthly account statements for May 2009 to October

2009). This money, $19,800,000.00, was supposed to have been held in trust for Universitas;

instead it was transferred to Grist Mill Capital – and Grist Mill Capital’s corporate agent has no

idea why (see Exhibit 19). In fact, for this transfer of $19,800,000.00, Grist Mill Capital’s

general ledger describes it as “unknown depo” (meaning, “unknown deposit”). Attached as

Exhibit 33 is a true and complete copy of the part of Grist Mill Capital’s general ledger that

contains this description.

       58.      On October 28, 2009, the day after the transfer of $19,800,000.00 from the

Charter Oak Trust to Grist Mill Capital, Mr. Carpenter transferred $19,000,000.00 from the Grist

Mill Capital account (Account No. 424 277 4712) to the Grist Mill Holdings account (Account

No. 424-261-7136). Attached as Exhibit 34 are true and complete copies of TD Bank

documents showing this transfer of $19,000,000.00, which is of course traceable to the

$19,800,000.00 transfer from the Charter Oak Trust to Grist Mill Capital that occurred the

previous day.

       59.      On or about November 12, 2009, Mr. Carpenter transferred $6,710,065.92 from

the Grist Mill Capital account (Account No. 424 277 4712) to the Avon Capital account at TD

Bank (Account No. 424 277 4689). Attached as Exhibit 35 are true and complete copies of TD

Bank documents showing this transfer of $6,710,065.92. Attached as Exhibit 36 is a true and

complete copy of the account-opening document for the Avon Capital account at TD Bank with

the Account Number 424 277 4689, listing Mr. Carpenter as a signatory on this account.




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       60.    On or about November 12, 2009, Mr. Carpenter transferred $4,140,000.00 from

the Grist Mill Holdings account (Account No. 424 261 7136) to the Carpenter Financial account

at TD Bank (Account No. 424 277 4697). Attached as Exhibit 37 are true and complete copies

of TD Bank documents showing this transfer of $4,140,000.00. Attached as Exhibit 38 is a true

and complete copy of the account-opening document for the Carpenter Financial account at TD

Bank with the Account Number 424 277 4697, listing Mr. Carpenter as a signatory on this

account.

       61.    On or about December 3, 2009, Mr. Carpenter transferred $7,000,000.00 from the

Grist Mill Holdings account (Account No. 424 261 7136) to the Carpenter Financial account at

TD Bank (Account No. 424 277 4697). Attached as Exhibit 39 are true and complete copies of

TD Bank documents showing this transfer of $7,000,000.00.

       62.    On or about December 3, 2009, Mr. Carpenter transferred $5,000,000.00 from the

Carpenter Financial account (Account No. 424 277 4697) to the Phoenix account at TD Bank

(Account No. 424 277 4671). Attached as Exhibit 40 are true and complete copies of TD Bank

documents showing this transfer of $5,000,000.00. Attached as Exhibit 41 is a true and

complete copy of the account-opening document for the Phoenix account at TD Bank with the

Account Number 424 277 4671, listing Mr. Carpenter as a signatory on this account.

       63.    On or about December 3, 2009, Mr. Carpenter transferred $510,000.00 from the

Grist Mill Capital account (Account No. 424 277 4712) to a JP Morgan account standing in the

name of the Grist Mill Trust (JP Morgan Account No. 904 028 488). Attached as Exhibit 42 are

true and complete copies of a TD Bank document showing this transfer of $510,000.00.

       64.    Also on or about December 3, 2009, Mr. Carpenter transferred an additional

$178,125.00 from the Grist Mill Capital account (Account No. 424 277 4712) to a JP Morgan



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account standing in the name of the Grist Mill Trust (JP Morgan Account No. 904 028 488).

Attached as Exhibit 43 are true and complete copies of a TD Bank document showing this

transfer of $178,125.00.

       65.     Mr. Carpenter tried to prevent Universitas from learning about any of the bank

transfers described above. When Universitas subpoenaed TD Bank following the entry of

judgment on June 7, 2012, Nova’s then-attorney, Joseph M. Pastore, III, moved to quash the

subpoena (dkt. no. 56). The Court denied this motion on August 17 (dkt. no. 133), and this

month sanctioned Mr. Pastore for filing this and other motions (dkt. no. 293). Both Mr. Pastore

and Mr. Carpenter, moreover, each wrote letters to TD Bank threatening it with criminal

prosecution if it complied with Universitas’ subpoenas. Attached as Exhibit 44 are true and

complete copies of these letters from Mr. Pastore and Mr. Carpenter, respectively. Mr.

Carpenter further sought to fight disclosure of the transfers by arranging for the filing a lawsuit

against Universitas and TD Bank in Connecticut Superior Court. (The lawsuit, which named

Grist Mill Capital, Grist Mill Holdings and Phoenix as the plaintiffs, was withdrawn within a

month of filing, before the court took any action. See Grist Mill Capital, LLC v. TD Bank et al.,

Case No. XX-XXXXXXX-S (Conn. Super. Ct.)). As Magistrate Judge Pitman has noted, Nova has

“resisted all efforts” to enforce Universitas’ judgment in this action, and Nova’s principals and

attorneys have improperly threatened third parties from which Universitas has sought discovery.

11/21/12 Order at 1-2, 8 (dkt. no. 176).

       Grist Mill Trust Transfers

       66.     In numerous communications with Universitas’ counsel, counsel for the Grist

Mill Trust has asserted that the transfers of $2,833,568.64 and $965,314.17, respectively, from

Grist Mill Capital to Grist Mill Trust (see Exhibits 27-28), were loan repayments. Attached as



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Exhibit 45 are documents furnished to Universitas’ counsel that purport to be documentation of

two loan agreements (dated August 11, 2006 and October 1, 2007, respectively) between Grist

Mill Capital and the Grist Mill Trust.

       67.     Exhibit 45 shows that for each of the two alleged loans, Mr. Carpenter signed on

behalf of Grist Mill Capital, and Mr. Bursey signed on behalf of the Grist Mill Trust.

       68.     With respect to the above-documented transfers of money, from Grist Mill Capital

to the Grist Mill Trust, these transfers are fraudulent and have no valid basis, particularly since

they were made by Mr. Bursey and Mr. Carpenter, the people who made the initial transfers from

the Charter Oak Trust to Grist Mill Capital, and who knew that the money being transferred by

Grist Mill Capital to the Grist Mill Trust should have stayed in the Charter Oak Trust for

Universitas’ benefit.

       69.     Additionally, counsel for the Grist Mill Trust has asserted that the transfers of

$510,000.00 and $178,125.00, respectively, on December 3, 2009, were also loan repayments by

Grist Mill Capital. Attached as Exhibit 46 are documents furnished to Universitas’ counsel that

purport to be documentation of the loans to which these December 2009 transfers relate.

       70.     These December transfers, from Grist Mill Capital to the Grist Mill Trust, were

also fraudulent and have no valid basis, for the reasons stated above and in Universitas’

memorandum of law accompanying this declaration.

                  MR. CARPENTER CONTROLS THE ENTITIES THAT

      IMPROPERLY TRANSFERRED AND RECEIVED UNIVERSITAS’ MONEY

       71.     Aside from arguably the Grist Mill Trust, Mr. Carpenter is an alter ego of the

entities to which Universitas’ money was transferred. In fact, in a recent letter to the Court,

Nova’s attorney Ira Kleiman discussed how Universitas’ money was transferred first to Grist



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Mill Capital, and then to Grist Mill Holdings, Avon Capital, Carpenter Financial Group, Phoenix

Capital and the Grist Mill Trust. See Exhibit 53. Mr. Kleiman represented to the Court that

“Mr. Carpenter is not in control of at least one of these entities,” and then only discussed how

Mr. Carpenter (allegedly) does not control the Grist Mill Trust. The upshot is that Mr. Carpenter

is an alter ego of all of the entities mentioned by Mr. Kleiman, except for the Grist Mill Trust

(which Mr. Carpenter nonetheless controls, as a Trustee, along with his wife and Mr. Bursey).

       72.     Attached as Exhibit 47 is a true copy of excerpts from the transcription of the

April 17, 2013 deposition of Mr. Carpenter in this litigation. At his deposition, as reflected in

the excerpts contained within Exhibit 47, Mr. Carpenter testified that:

               a.      Nova is a “shell corp.” (April 17 Tr. at 76:2-5);

               b.      He is the chairman and secretary of Carpenter Financial

                       (April 17 Tr. at 35:6-13);

               c.      Grist Mill Holdings is Mr. Carpenter’s “alter ego” (April 17 Tr. at 47:15-

                       18);

               d.      He controls Grist Mill Capital through his control of Grist Mill Capital’s

                       two members, Grist Mill Holdings and Caroline Financial Group (April

                       17 Tr. at 16:24-25, 17:1-5);

               e.      Grist Mill Capital seized millions of dollars from a Charter Oak Trust

                       bank account (April 17 Tr. at 90:18-25, 91:2-6);

               f.      He is the sole officer/director of both the Hanover and Phoenix

                       companies (April 17 Tr. at 27:13-20, 34:21-24, 35:6-25, 56:22-25, 57:2-

                       4);




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               g.     He is the Chairman of, the only officer of, and the only person affiliated

                      with, Caroline Financial Group, Inc. (“Caroline Financial”)

                      (April 17 Tr. at 8:5-10, 14:22-25, 15:2-25, 16:2-4);

               h.     The number of entities for which Caroline is the managing member and

                      tax matters partner was “too numerous to mention” (April 17 Tr. at 16:15-

                      23);

               i.     He arranged for Hanover to hold a mortgage on real property owned by

                      Moonstone Partners, LLC, another company of his, as protection against

                      his Boston-based creditors (April 17 Tr. at 124:3-25)

At his first deposition in October 2012, Mr. Carpenter asserted his Fifth Amendment right

against self-incrimination in response to most if not all questions about Nova, the Charter Oak

Trust and Grist Mill Capital.

       73.     Mr. Carpenter also controls Avon Capital, as evidenced by Exhibit 36, containing

a true and complete copy of documents that Mr. Carpenter submitted to TD Bank in May 2009

when he opened an account in Avon Capital’s name. These documents show Mr. Carpenter to

be Chairman of Avon’s Managing Member, which is Grist Mill Capital.

       74.     Mr. Carpenter, his wife Molly Carpenter and Mr. Bursey are all Trustees of the

Grist Mill Trust, as demonstrated by Exhibits 48-49, containing, respectively, a true and

complete copy of a JP Morgan account opening document for the Grist Mill Trust (listing Ms.

Carpenter and Mr. Bursey as Trustees), as well as a copy of a life insurance policy owned by the

Grist Mill Trust (which is signed by Mr. Carpenter and lists him as a Trustee).

       75.     At a May 9, 2013 hearing in this action, Mr. Carpenter disclaimed any official

role at the Grist Mill Trust, although he did acknowledge that the Grist Mill Trust often consults



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him on tax matters (which is easy enough to do since he owns and works out of the building

from which the Grist Mill Trust is operated). Attached as Exhibit 50 (May 9 Tr. at 35:8-16) is a

true copy of excerpts from the transcription of the Mr. Carpenter’s May 9, 2013 testimony in this

litigation.

        76.      At the May 9 hearing, Mr. Carpenter also testified that the Grist Mill Trust had

“excess cash,” with “hundreds of millions of dollars coming in every year.” Exhibit 50, April

17 Tr. at 43:12-16.

        77.      In response to being subpoenaed to testify at the May 9 hearing on Universitas’

turnover motion, Mr. Bursey, by letter to the Court, asserted his Fifth Amendment right against

self-incrimination in response to all questions about the following topics (among others):

        • Mr. Bursey’s role in the Charter Oak Trust, Nova, Grist Mill Trust, Grist Mill Capital,
              LLC and related entities; and

        • Mr. Carpenter’s role in Nova, the Charter Oak Trust, Grist Mill Trust, Grist Mill
              Capital and related entities.

See Exhibit 6.

        78.      Nova’s principals have also arranged for monies belonging to the Charter Oak

Trust to bypass the Charter Oak Trust entirely. For instance, in June 2011, the Charter Oak Trust

settled a federal lawsuit that the Penn Mutual Life Insurance Company (“Penn Mutual”) brought

against it relating to a policy insuring the life of someone with the last name Martinez (Policy

No. 8214580), which policy the Charter Oak Trust owned. As part of the settlement, Penn

Mutual agreed to settle the lawsuit for a payment of $600,000 to the Charter Oak Trust – except

that when Penn Mutual issued the $600,000 check, Nova arranged for that check to be made

payable to Grist Mill Capital, rather than the Charter Oak Trust, even though Grist Mill Capital


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was not a party to the litigation being settled. Attached as Exhibit 51 is a true and complete

copy of a Stipulation of Dismissal with Prejudice, dated June 9, 2011, filed in the litigation

between Penn Mutual and the Charter Oak Trust (indicating, among other things, that Grist Mill

Capital was not a party to the litigation). Attached as Exhibit 52 is a true and complete copy of

a $600,000 check, dated June 7, 2011, issued by Penn Mutual to Grist Mill Capital, as part of the

resolution of the litigation between the Charter Oak Trust and Penn Mutual.

       79.      Attached as Exhibit 53 is a true and complete copy of an October 4, 2013 letter

from Nova’s counsel, Ira Kleiman, to the Court (exhibit to the letter omitted).



       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

and complete.

Dated: New York, New York
       October 9, 2013

                                                       /s/ Michael Barnett                .
                                                            MICHAEL BARNETT


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